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 4
                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5                                    AT SEATTLE
 6
 7 UNITED STATES OF AMERICA, )
                                 )
 8                   Plaintiff,  )               CASE NO.      CR06-206 JLR
                                 )
 9         v.                    )
                                 )
10                               )               DETENTION ORDER
    OSCAR VASQUEZ-CRUZ,          )
11                               )
                Defendant.       )
12 ______________________________)
13 Offense charged:
14            Conspiracy to Distribute Heroin and Cocaine in violation of USC §§ 21:841(a)(1),
15            841(b)(1)(A), and 846.
16 Date of Detention Hearing: June 21, 2006
17            The Court, having conducted an uncontested detention hearing pursuant to Title
18 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
19 detention hereafter set forth, finds that no condition or combination of conditions which the
20 defendant can meet will reasonably assure the appearance of the defendant as required and
21 the safety of any other person and the community. The Government was represented by
22 Sarah Vogel. The defendant was represented by Michele Shaw.
23        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24            (1)    There is probable cause to believe the defendant committed the drug
25                   offense. The maximum penalty is in excess of ten years. There is
26                   therefore a rebuttable presumption against the defendant’s release based

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 1               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 2               3142(e).
 3         (2)   Defendant stipulated to detention at this time, reserving the right to
 4               address the matter in the future.
 5         (3)   There appears that there is no condition or combination of conditions
 6               other than detention that would reasonably assure future Court
 7               appearances and/or the safety of other persons or the community.
 8         It is therefore ORDERED:
 9         (l)   The defendant shall be detained pending trial and committed to the
10               custody of the Attorney General for confinement in a correction facility
11               separate, to the extent practicable, from persons awaiting or serving
12               sentences or being held in custody pending appeal;
13         (2)   The defendant shall be afforded reasonable opportunity for private
14               consultation with counsel;
15         (3)   On order of a court of the United States or on request of an attorney for
16               the Government, the person in charge of the corrections facility in which
17               the defendant is confined shall deliver the defendant to a United States
18               Marshal for the purpose of an appearance in connection with a court
19               proceeding; and
20         (4)   The clerk shall direct copies of this order to counsel for the United
21               States, to counsel for the defendant, to the United States Marshal, and to
22               the United States Pretrial Services Officer.
23         DATED this 23rd day of June, 2006.


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                                                     MONICA J. BENTON
26                                                   United States Magistrate Judge

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